Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 1 of 103 PageID #:16




          GROUP EXHIBIT 1
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 2 of 103 PageID #:17


Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has    Registration Number
                         been made a part of the Copyright Office records.            VA      2 152 055

                                                                                      Effective Date of Registration:
                                                                                      May 17, 2019

                         Unit
                           “ States Register of Copyrights and Director




   Title

                            Title of Work:      Gothic Prayer

                         Nature of Claim:       Lithographic print

   Completion/Publication
                    Year of Completion:         2008
                 Date of Ist Publication:       January 31, 2008
               Nation of 1 Publication:         United Kingdom

   Author

                     °              Author:     Anne Stokes
                          Author Created:      . 2-Dimensional artwork
                   Work made for hire:          No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge,, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

                 Previously registered:         No


   Certification

                                     Name:      Michael A. Hierl
                                      Date:     May 16, 2019



                                                                                                                  Page | of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 3 of 103 PageID #:18




                           i eS
                            Lee




                                                                                                                                                                . Bi
                                                                                                                                                            aN re
                       Corres pond lence:                                               ‘i
                                                                                                                        \

                                               R egardrding'pu blica         te: ofp         bl icati    n=1    a n'a                    xim ation




                                                                       c.
                                                                       r=!
                                                                       Oo
                                                                       b
                                                                                                oe




                                                                                                               Ny
                                                                                                               Se
                                                                                        ne ’
                                                                                          ae
                                                                                       te,
                                                                                               Lear
                                                                                       eo
                                                                                         ee




                                                                                                                                                eyoe
                                                           eras




                                                                                                                                                     Seat
                                                                                                ee, i.
                                                                                               ee
                                                                                                PN
                                                                                               ate
                                      eon
                                       Dos




                                                                                                                            gr ke
                                             ee het




                                                                                                                        cpt
                                              sol,
          SSeS i tee




                                                                                                                            -
                                                                                                                        :
    weap eae




                                                                                                                    .
                                                                                                                        ee ye,
                                                                                                                         wood”
                                                                                                                    wee Ne

                                                                                                                                    es
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 4 of 103 PageID #:19




                                                                       oO       SS)
                           Gothic Prayer poster.tif                     <I Pct
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 5 of 103 PageID #:20

Certificate of Registration
                                                                                                                                 Ea
                          This Certificate issued under the seal of the Copyright
                          Office in accordance with title 17, United States Code,
                          attests that registration has been made for the work
                          identified below. The information on this certificate has
                                                                                       Registration Number
                          been made a part of the Copyright Office records.
                                                                                       VA 2-152-057
                            tp B Legh
                          Unit
                            “Z..States Register of Copyrights and Director
                                                                                       Effective Date of Registration:
                                                                                       May 17, 2019




   Title

                             Title of Work:      Blue Moon

                          Nature of Claim:       Lithographic print

   Completion/Publication
                    Year of Completion:          2016
                 Date of Ist Publication:        February 29, 2016
                Nation of 1° Publication:        United Kingdom

   Author

                      °            Author:        Anne Stokes
                           Author Created:      — 2-Dimensional artwork
                    Work made for hire:          No
                                  Citizen of:    United Kingdom
                                 Year Born:      1972
                               Anonymous:        No
                            Pseudonymous:        No


   Copyright Claimant

                    Copyright Claimant:         — Anne Stokes
                                                  1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                  United Kingdom

   Limitation of copyright claim

                  Previously registered:         No


   Certification

                                      Name:      Michael A. Hierl
                                       Date:     May 16, 2019



                                                                                                                   Page 1 of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 6 of 103 PageID #:21




                                                                                                                          bot
                                                                                                                           ‘aNS
          Ce o) r * p01nd
                                              .Regardingp ubl
                                                                             r “e
          ight Offi ice not es 2
                                                                 fe
                                                                      on: The d at




                                                                ics
                                                                pa}
                                                                 &




                                                                                                            é,
                                                                                                             aes
                            See eres
                              rane!
                                  !
                                  :




                                                                                     Sara eee
                                                                                          ilo
                                                                                            :




                                                                                                we rie
                                                                                                   Poy
                                                                                                      ¥
                                   :




                                                                                                                   PR
                                                                                                                     ~t
                                                                                                                   Tete
                                   .
                                   .




                                                                                                     as Scand
                                                                                                      -t
                                   seeOe Ne




                                                                                                         ,
   oe
   a.




                                   .
      Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 7 of 103 PageID #:22




Blue Moon.psd
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 8 of 103 PageID #:23

Certificate of Registration




                                                                                                                               eee
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-045
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019

                         7       States Register of Copyrights and Director




   Title

                           Title of Work:      Dark Hearts

                         Nature of Claim:      Lithographic print

   Completion/Publication
                    Year of Completion:        2012
                 Date of Ist Publication:      March 31, 2012
               Nation of 1** Publication:       United Kingdom

   Author

                     °          Author:         Anne Stokes
                       Author Created:        © 2-Dimensional artwork
                   Work made for hire:          No
                             Citizen of:      | United Kingdom
                            Year Born:          1972
                           Anonymous:           No
                        Pseudonymous:           No


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

                 Previously registered:        No



   Certification

                                    Name:      Michael A. Hierl
                                     Date:     May 16, 2019



                                                                                                                 Page | of 2
  Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 9 of 103 PageID #:24




                                             Régard ng publi
                                                                                ,
                            righ t! Office                                                       f publicIcat ion is an‘a PP. roximat ion.
                                                                                                             -¢
                                                                          The              ‘0.




                                                               2.
                                                               4
                                                               °o
                                                               a


                                                               s
                                                                     ee




                                                                                                             sa ats
                                                                  hohe
                                                                   peor




                                                                                                                fs
                ee




                                                                                                       PrN
                                                               aN
                        f




                                                                                                        rs
                        4
        eet A
                wee een




                                                                                                                   ee
                      ‘




                                                                                                                     ae
                                                                                                                  eye
                .




                                                                                                                   .
                r




                                 aS
                                  be
                                   .
eoee®




                                                                                    ah
                                                                                     adc
                                 eae}
                                  dD




                                                                                     PE
                                                                                    he
                                     ob
                                 wees
                                  ~




                                                                                    .
                                                                                    :
                                                                                    4.




                                                                                                                                       Parra
                                                                                                                                      t
                                                                                    :
                                                                                    5
                                                                                    by
                                                                                    e
                                                                                    ie
                                                                                    eign
                                                                                    ae




                                                                                                                              Pie
                                                                                                                           Nee
                                                                                                                            tb
                                                                                                                            for
                                                                                                                           tle
         Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 10 of 103 PageID #:25




 Sad eyes.psd
             5a
         a




                        se)n
a)
     =


          oO
                  AS)
 @

           ®©


                    a.
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 11 of 103 PageID #:26

Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in-accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has   Registration Number
                        been made a part of the Copyright Office records.
                                                                                    VA 2-152-048
                                                                                    Effective Date of Registration:
                                                                                    May 17, 2019

                        Unit
                          vA States Register of Copyrights and Director




   Title
                          Title of Work:     — Protector

                        Nature of Claim:       Lithographic print

   Completion/Publication
                 Year of Completion:           2013
              Date of Ist Publication:         November 30, 2013
            Nation of 1% Publication:          United Kingdom

   Author

                    °         Author:          Anne Stokes
                      Author Created:        | 2-Dimensional artwork
                  Work made for hire:          No
                              Citizen of:     United Kingdom
                             Year Born:       1972
                            Anonymous:        No
                         Pseudonymous:        No

   Copyright Claimant

                  Copyright Claimant:         Anne Stokes
                                              1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                              United Kingdom

  Limitation of copyright claim

              Previously registered:          No


  Certification

                                   Name:      Michael A. Hier]
                                     Date:    May 16, 2016




                                                                                                               Page | of 2
          Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 12 of 103 PageID #:27




                      Co pyrig ht   ffice not eS%.   Reg: ard ing         ‘Thedi ale o publ ication. i s‘an app roximal tion




                                                                    co.
                                                                    iz)

                                                                    fo]
          ! ws




                                                                    SS

                                                                    s
                 oe
                 nr
                  t




                                                                                                                      Cae
                                                                                                                     poo
                                                      ee, ee,
                                                     ee




                                                                                                                               oe eee
                                                                                                                                    ee
                                                                                                                                  :  ee
   1
eet,
   Lote
AN
            Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 13 of 103 PageID #:28




                                                                                       go
Protector.tif                                                                           “TRCN8
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 14 of 103 PageID #:29

Certificate of Registration




                                                                                                                             iia
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has   Registration Number
                        been made a part of the Copyright Office records,
                                                                                    VA 2-152-065
                          tp 4 Logo
                        Unit
                          v4States Register of Copyrights and Director
                                                                                    Effective Date of Registration:
                                                                                    May   17, 2019




   Title

                          Title of Work:      Summon the Reaper

                        Nature of Claim:      Lithographic print

   Completion/Publication
                 Year of Completion:          2009
              Date of Ist Publication:        August 31, 2009
            Nation of 1*' Publication:        United Kingdom

   Author

                    °          Author:        Anne Stokes
                      Author Created:         2-Dimensional artwork
                  Work made for hire:         No
                            Citizen of:       United Kingdom
                           Year Born:         1972
                          Anonymous:          No
                       Pseudonymous:          No

   Copyright Claimant

                  Copyright Claimant:         Anne Stokes
                                              1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                              United Kingdom

   Limitation of copyright claim

              Previously registered:          No



  Certification

                                   Name:      Michael A. Hier]
                                    Date:     May 16, 2019




                                                                                                               Page 1 of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 15 of 103 PageID #:30




                                    Yes.               ;                                          ;       a        ,          |
             Correspondence:
  wd * Copyright Office notes: | Regarding, publication: The application listed
                                                                         i      the date of publication with month
                                     and year only.. Correspondence from applicant sStates to amend the date of |
                                  publication to show the last day of the given. month as thé date of first’
                                   ’ publication. We attempted to: discover the. Precise day of: the month’ before fi ling,
                                    but were unable to.do so.”




                                                                                                          a     Page 2 of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 16 of 103 PageID #:31
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 17 of 103 PageID #:32

Certificate of Registration
                                                                                                                               i
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-061
                           tp 4 Legh
                         Unit
                           7    aStates Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                           Title of Work:      Spirit Guide

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2011
               Date of Ist Publication:         April 30, 2011
             Nation of 1* Publication:          United Kingdom

   Author

                     °          Author:        Anne Stokes
                       Author Created:         2-Dimensional artwork
                   Work made for hire:         No
                             Citizen of:       United Kingdom
                            Year Born:         1972
                           Anonymous:          No
                        Pseudonymous:          No


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

               Previously registered:          No



   Certification

                                     Name:     Michael A. Hierl
                                      Date:    May 16, 2019


                                                                                                                 Page 1 of 2
         Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 18 of 103 PageID #:33




          Niet
             {
          eo ate
                                                                                       o
                                                                                     at 1on,._.
             te
Me
   tod
ete




                                                                            Ne Mee
                                                                            t
                                                                             we




                                                                                             WALt:
                                                                                                   eel
                                                                                              ‘
                                                                                              ea
                                                                                                      tee cee
                                                                                                ew Re ett
                                                                                                         :
                                                                                              .



                                                                                                    $
                                                                                                Oar
                                                                                              er ‘
                                                             . Shae
                                                             i ee
                                                               SN
                                                                N
                                                    Se
                                                    ge
                                                    2
                                                    ’
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 19 of 103 PageID #:34
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 20 of 103 PageID #:35

Certificate of Registration
                          This Certificate issued under the seal of the Copyright
                          Office in accordance with title 17, United States Code,
                          attests that registration has been made for the work
                          identified below. The information :  on this certificate has   Registration Number
                          been made a part of the Copyright Office records.
                                                                                         VA 2-152-064
                                                                                         Effective Date of Registration:
                                                                                         May 17, 2019

                          sae     States Register of Copyrights and Director




   Title

                            Title of Work:       Angel Rose

                          Nature of Claim:       Lithographic print

   Completion/Publication
                    Year of Completion:          2009
                  Date of 1st Publication:       March 31, 2009
                Nation of 1°' Publication:       United Kingdom

   Author

                      °             Author:      Anne Stokes
                        Author Created:         | 2-Dimensional artwork
                    Work made for hire:           No
                                Citizen of:      United Kingdom
                               Year Born:        1972
                              Anonymous:         No
                           Pseudonymous:         No

   Copyright Claimant

                    Copyright Claimant:          Anne Stokes
                                                 1 Nunwood House, Apperley Lane, Apperley Bridge, BRADFORD, BD10 OPB,
                                                 UK

   Limitation of copyright claim

                  Previously registered:         No



  Certification

                                      Name:     Michael A. Hied
                                       Date:    May 16, 2019




                                                                                                                    Page | of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 21 of 103 PageID #:36




                                                                                 yee eee
                                                                                  Cuero’
                                                                                                                                                                                      BN aha   es
                                                                                                                                                 De   ge eae te
                                                                                                                                                                t
                                                                                                                                                            Dae se
                                                                                             of
                                                                                          The date




                                                                                                                        ea
                                                                                                                        Tie       Ne,
                                                                                                                                    my
                                                                                     te




                                                                                                                                  oN   es
                                                                                                       ,
                                                                                                      eating ott              :                       i
                                                                                                                                                      ey eee
                                                                                                        wot                                             roe
                                                                                                                                                                      woe
                                                                                                                                                                     Ne     sae los
                                                                                                     Ape   te's
                                                                                                                   io             a
                                                                                                                        im                  r.
                                                                                                                                                                                                     r      :
                                                                                                                                                                                                    Natt    Ne,
                                                                                                                                                                                                           Pore
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 22 of 103 PageID #:37




                                                                               4          8
Angel Rose poster.tif                                                              ¢] E cty
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 23 of 103 PageID #:38


Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-063
                           tp 4 Legh
                         Unit
                           “7 States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                            Title of Work:      Kindred Spirits

                          Nature of Claim:      Lithographic print

   Completion/Publication
                   Year of Completion:          2008
               Date of 1st Publication:         March 31, 2008
             Nation of 18 Publication:          United Kingdom

   Author

                     °         Author:           Anne Stokes
                       Author Created:         | 2-Dimensional artwork
                   Work made for hire:           No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No

   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

               Previously registered:           No



   Certification

                                     Name:      Michael A. Hier]
                                      Date:     May 16, 2019




                                                                                                                 Page | of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 24 of 103 PageID #:39




                                                                                                               oN
                                                                                                              SONY            na4
                                                                                                                         3]
                                                                                                                                                                                                  :             cn
                                                                                                                     .                        :               .        wt        ves                      Pn     ers
                                                                                        oe
                                                                                                                                                                        pew sets yl. te      C4                  nthe
                                                                                                      ,   y                                                            inte    eae                                        poy
                                                                                  eee oge        Be                                                                                                                       a   :  >
                                                                                                                                                                                                      .        att
                                                                                                                                                                                                                     r
                                                                                                                                                                                                                         tp eR Ne
                                                                                  yt
                                                                                 ones        &
                                                                                                                                                                                                                                            oe
                                                                                                                                                                                                                                     Pea!
                                                                                                                                                                                                                                     Tay
                                                                                                                                                  urcanrins       .
                                                                                                                                             eM      ea               pes
                                                                                                                                        io   :
                                                                                                                                         hee
                                                                                                                                         t   oF
                                                                                                                                                                                       chy
                                                                                                                                                                                       ro.
                                                                                                                                                                                                                                            M        we   bot
                                                                                                                                                                                                                                           sly     eh a ase
                                                                                                                                      oars                                   ;
                                                                                                                robot               yes                               qty        tes
                                                                                                              ey asec
                                                                                                                                                                                                                                                 ate      carte
                                                                                                                                                                                                                                                  fa        :
                                                                                                                                                                                                                                           NAN   Hees
                                                                 aka Kindred
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 25 of 103 PageID #:40




                                                                   Spirits




Kindred Spirits.tf                                                                  “Tp cw
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 26 of 103 PageID #:41

Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records,
                                                                                     VA 2-152-068

                           tm 4 Ligh—
                         Unit
                           waStates Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                            Title of Work:      Enchantment

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2016
               Date of Ist Publication:         September 30, 2016
             Nation of 1° Publication:          United Kingdom

   Author

                     °         Author:           Anne Stokes
                       Author Created:         | 2-Dimensional artwork
                   Work made for hire:           No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

                Previously registered:          No



   Certification

                                     Name:      Michael A. Hierl
                                      Date:     May 16, 2019



                                                                                                                 Page | of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 27 of 103 PageID #:42




        oo Correspondence:         Yes         ;                               :
    »   Coperight Office notes: ~ Regarding publication: The application listed the’ ate of publication with month’
                                  -and year only. -Correspondence from. applicant ‘States: to.amend ‘the date of.
          -      ; be    pe        “publication "to'show. the last. day of the’ given: month as the date’ of |first’       :
                          _   °»   «publication. We attempted to discover the precise day'eof the month before fing, .
                                    but were unable to, ‘do so."




                                                                                                              "Page
                                                                                                                  2 of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 28 of 103 PageID #:43
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 29 of 103 PageID #:44

Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has    Registration Number
                        been made a part of the Copyright Office records.
                                                                                     VA 2-152-067
                          tp. Plog
                        Unit
                          a States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                          Title of Work:       Aracnafaria

                        Nature of Claim:       Lithographic print

   Completion/Publication
                  Year of Completion:          2009
              Date of Ist Publication:         April 30, 2009
            Nation of 1*t Publication:         United Kingdom

   Author

                    °         Author:           Anne Stokes
                      Author Created:         | 2-Dimensional artwork
                  Work made for hire:           No
                                Citizen of:    United Kingdom
                              Year Born:       1972
                            Anonymous:         No
                         Pseudonymous:         No

   Copyright Claimant

                  Copyright Claimant:          Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

              Previously registered:          No


  Certification

                                   Name:      Michael A. Hied
                                     Date:    May     16, 2019




                                                                                                                Page | of 2
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 30 of 103 PageID #:45




             Correspondence:     Yes
    ~ "Copyright om
                  © ice notes:    Regarding publication: The application listed
                                                                         1      the date of publication with month |
                                 _and year only.. Correspondence from applicant States to amend the date of
                                 _ publication “to show the last day of the given month.as the date of first
                                  publication. We auempted to discover the precise day of the month: before filing, -
                                  but were unable to.do so.”                 ;




                                                                                                               Page 2 of 2
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 31 of 103 PageID #:46




Aracnafaria poster.tif
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 32 of 103 PageID #:47

Certificate of Registration
                         This Certificate issued-under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-058
                           tp 4 Legh
                         Unit
                           “Z States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                            Title of Work:      Dragonkin

                         Nature of Claim:       Lithographic print

   Completion/Publication
                   Year of Completion:          2012
              Date of Ist Publication:          November 30, 2012
            Nation of 15 Publication:           United Kingdom

   Author

                     °            Author:       Anne Stokes
                          Author Created:       2-Dimensional artwork
                   Work     made for hire:      No
                                 Citizen of:    United Kingdom
                                Year Born:      1972
                              Anonymous:        No
                           Pseudonymous:        No


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom

   Limitation of copyright claim

               Previously registered:           No



   Certification

                                     Name:     Michael A. Hier]
                                      Date:    May 16, 2019



                                                                                                                 Page | of 2
                                                                                                                                                .     ees
                                                                                                                                                 eh ws
                                                                                                                                               welt
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 33 of 103 PageID #:48




                                                          if                                 :
at                                                               A               a Ne   ie
                                                                                                                                                                                                       tye   ee
                                                                                                                                                      Li 3
                                                                                                                                                    Porn
                                                                                                                                                    ye
                                                                                                                   Of-p




                                                                                                                                                                                                                                            se Soe as
                                                                                                                   ublication:




                                                                                                                                                                                            Oa   aes
                                                                                                                                          ;
                                                                                                                    gard
                                                                                                               ght Offi ice0 i es es.




                                                                                                                                                                                   ees
                                                                                                                                                                                     rest
                                                                                                                                                                                                                                sae y Nee
                                                                                 Bot             :
                                                                                 rn                  rns
                                                                                   Pe
                                                                                                                                        sete
                                                                                                                                         EY
                                                                                                                                                        wit      ot ante
                                                                                                                                                            st
                                                                                                                                                                           Nes e
                                                                                                                                                                           Ty
                                                                                                                                                                                                                      ;    ey
                                                                                                                                                                                                                  2 sate
                                                                                                              1
                                                                                                           ‘ are                                                                                                       ”
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 34 of 103 PageID #:49
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 35 of 103 PageID #:50

Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has
                                                                                     Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-152-019
                           tp Fo Legh
                         Unitéd States Register of Copyrights and Director
                                                                                     Effective Date of Registration:
                                                                                     May 17, 2019




   Title

                           Title of Work:       Spell Weaver

                         Nature of Claim:       Lithographic print

   Completion/Publication
                    Year of Completion:         2018
                 Date of Ist Publication:       February 28, 2018
               Nation of 1* Publication:        United Kingdom

   Author

                     °          Author:         Anne Stokes
                       Author Created:        | 2-Dimensional artwork
                   Work made for hire:          No
                             Citizen of:        United Kingdom
                            Year Born:          1972
                           Anonymous:           No
                        Pseudonymous:           No

   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom

   Limitation of copyright claim

                 Previously registered:        No


  Certification

                                    Name:      Michael A. Hier
                                      Date:    May 16, 2019




                                                                                                                Page | of 2
                              Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 36 of 103 PageID #:51
   nee
          :
          1
       foror
         .
         et
  aN
Loy
 potNe
 aesoe




                                      ae      Cc    ‘
                                                   orres pon dence
                                                          rok



                                    Co PYF:        ht Offi cen   note   ca ition:   late;oof publi




                                                                                    2
                                                                                    J
                                                                                        Vt N eeN e




                                                                                                                                                               eh
                                                                                                                                                                 ‘
                                                                                                                                                               ee
                                                                                                                                                                :
                                                                                                                                                   TN
                                                                                                                                                   Nine
                                                                                                                                     Tes
                                                                                                                                     Mee

                                                                                                                                                   tee
                                                                                                                                      wo
                                                                                                                                         ale
                                                                                                                                          gp
               aN




                                                                                                              DE




                                                                                                                                             .
                                                                                                                                               .
                                                                                                             Ms
               tye'




                                                                                                              aN aca




                                                                                                                                       °
                                                                                                     ,
                                                                                                         a




                                                                                                                                     hase
                                                                                                                                      fo

                                                                                                                                                   :
                                                                                                     ee




                                                                                                                                     8
                                                                                                                       oy Sees
                                                                                                                        fot
                                                                                                                           Spy




                                                                                                                                                   ‘
                          lew
                      tof
                           yo




                                                                                                                                               yey
                        aes




                                                                                                                                               ae
                                                                                                                                 :
                              ete




                                                                                                                                               NS‘




                                                                                                                                                          Ss
                                                                                                                                                          go
                                                                                                                                                          a
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 37 of 103 PageID #:52




Spell weaver.psd
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 38 of 103 PageID #:53
Certificate of Registration
                      This Certificate issued under the sealbof the Copyright
                      Office in acoordance with tith 17, United Sraces Cade,
                      altesis that registration has Seen made for the work
                      identified below, The information on this certificate has    Registration Number
                      been made a part of the Copyright Office records.            VA      2-261-829

                                                                                   Effective Date of Revistration:
                            tia              (Vib     pile                         July 13, 202)
                                                                                   Revistration Decision Date:
                      United States Register of Copyrights and Director            August 04, 2021




   Title

                           Tithe of Work:     Awake Your Magic


   Completion/Publication
                    Year of Completion:       2015
                 Date of 1st Publication;     Mareh 01,2015
                Nation of ' Publication:      United Kingdom

   Author

                      °           Author:     Anne Stokes
                          Author Created;    — 2-D artwork
                               Citizen of:    United Kingdom

   Copyright Claimant

                    Copyright Claimant:       Anne Stokes
                                              } Noawood House, Apperley Lane, Apperley Bridge. Bradford, BD      OPR.
                                              United Kingdom




   Certification
                                   Name:      Paul Svarcia-Schee!
                                    Date:     July 13,2021




                                                                                                                 Page   lof]
 Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 39 of 103 PageID #:54


Awake Your Magic
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 40 of 103 PageID #:55




        COPY OF
     REGISTRATION

                   VA 2-272-364
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 41 of 103 PageID #:56




                                                                                 Registration Number

                                                                                 VA 2-272-364
                                                                                 Effective Date of Registration:
                                                                                 September 14, 2021
                                                                                 Registration Decision Date:
                                                                                 October 20, 2021




Title

                         Title of Work:     Rock God


Completion/Publication
                Year of Completion:         2008
            Date of Ist Publication:        March 01, 2008
          Nation of 1" Publication:         United Kingdom

Author

                   e            Author:     Anne Stokes
                       Author Created:      2-D artwork
                             Citizen of:    United Kingdom

Copyright Claimant

                Copyright Claimant:         Anne Stokes
                                            1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                            United Kingdom




Certification

                                   Name:    Anna Katharina Reiter
                                    Date:   September 14, 2021
ener            eee e eee e reer   rece                                           en




                                                                                                             Page | of |
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 42 of 103 PageID #:57


                       Registration #:   VA0002272364
                   Service Request #:    1-10837214191




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 43 of 103 PageID #:58




            © Anne Stokes\        www.agnestokes.com
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 44 of 103 PageID #:59




        COPY OF
     REGISTRATION
                   VA 2-272-273
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 45 of 103 PageID #:60




                                                                               Registration Number

                                                                               VA 2-272-273
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 20, 2021




Title

                       Title of Work:     Final Verdict


Completion/Publication
               Year of Completion:        2007
            Date of Ist Publication:      March 01, 2007
          Nation of 1* Publication:       United Kingdom

Author

                  °           Author:     Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                 Date:    September 14, 2021




                                                                                                           Page ! of 1
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 46 of 103 PageID #:61


                        Registration #:   VA0002272273
                    Service Request #:    1-10837373080




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 47 of 103 PageID #:62
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 48 of 103 PageID #:63




        COPY OF
     REGISTRATION

                   VA 2-272-075
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 49 of 103 PageID #:64




                                                                               Registration Number

                                                                               VA 2-272-075
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 19, 2021




Title

                       Title of Work:     Dragons Lair


Completion/Publication
              Year of Completion:         2008
           Date of Ist Publication:       March 01, 2008
          Nation of 1* Publication:       United Kingdom

Author

                  °            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                 Date:    September 14, 2021
ee                                ee                                                   a




                                                                                                           Page 1 of I
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 50 of 103 PageID #:65


                       Registration #:   VA0002272075
                   Service Request #:    1-10837373195




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 51 of 103 PageID #:66
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 52 of 103 PageID #:67




        COPY OF
     REGISTRATION

                   VA 2-272-041
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 53 of 103 PageID #:68




                                                                               Registration Number

                                                                               VA 2-272-041
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 19, 2021




Title

                       Title of Work:     Pirate Skull


Completion/Publication
              Year of Completion:         2011
           Date of 1st Publication:       March 01, 2011
         Nation of 1" Publication:        United Kingdom

Author
                  °            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                 Date:    September 14, 2021




                                                                                                           Page | of |
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 54 of 103 PageID #:69


                       Registration #:   VA0002272041
                   Service Request #:    1-10837431985




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
04894 Document #: 1-1 Filed: 06/13/24 Page 55 of 10




         Anne   Stokes   -   www.annestokes.com
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 56 of 103 PageID #:71




        COPY OF.
     REGISTRATION

                   VA 2-271-652
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 57 of 103 PageID #:72




                                                                               Registration Number

                                                                               VA 2-271-652
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 18, 2021




Title

                       Title of Work:     Gothic Guardian


Completion/Publication
               Year of Completion:        2010
            Date of 1st Publication:      March 01, 2010
          Nation of 1* Publication:       United Kingdom

Author

                  e            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                Name:     Anna Katharina Reiter
                                  Date:   September 14, 2021




                                                                                                           Page | of |
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 58 of 103 PageID #:73


                       Registration #;   VA0002271652
                   Service Request #:    1-10837431880




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 59 of 103 PageID #:74




            © Anne Stokes -           w   Pl alalseiee) <ecmae) eal
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 60 of 103 PageID #:75




        COPY OF
     REGISTRATION

                   VA 2-272-043
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 61 of 103 PageID #:76




                                                                                Registration Number

                                                                                VA 2-272-043
                                                                                Effective Date of Registration:
                                                                                September 14, 2021
                                                                                Registration Decision Date:
                                                                                October 19, 2021




Title

                       Title of Work:     © Unicom Heart


Completion/Publication
                Year of Completion:        2010
            Date of Ist Publication:       March 01, 2010
          Nation of 1* Publication:        United Kingdom

Author

                  °            Author:     Anne Stokes
                      Author Created:      2-D artwork
                            Citizen of:    United Kingdom

Copyright Claimant

                Copyright Claimant:        Anne Stokes
                                           1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                           United Kingdom




Certification

                                Name:      Anna Katharina Reiter
                                 Date:     September 14, 2021
ee                                        a                                                        ee




                                                                                                            Page | of |
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 62 of 103 PageID #:77


                       Registration #:   VA0002272043
                   Service Request #:    1-10837432225




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
                 aSe a            ee   a   ee

894 Document #: 1-1 Filed: 06/13/24 Page 63 of
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 64 of 103 PageID #:79




        COPY OF
     REGISTRATION

                   VA 2-271-518
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 65 of 103 PageID #:80




                                                                               Registration Number

                                                                               VA 2-271-518
                                                                               Effective Date of Registration:
                                                                               September 14, 2021
                                                                               Registration Decision Date:
                                                                               October 18, 202]




Title
                       Title of Work:     Woodland Guardian


Completion/Publication
               Year of Completion:        2008
            Date of Ist Publication:      March 01, 2008
          Nation of 1* Publication:       United Kingdom

Author

                  e            Author:    Anne Stokes
                      Author Created:     2-D artwork
                            Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:       Anne Stokes
                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                          United Kingdom




Certification

                                          Anna Katharina Reiter
                                          September 14, 2021




                                                                                                             Page | of 1
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 66 of 103 PageID #:81


                       Registration #:   VA0002271518
                   Service Request #:    1-10837406890




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
v-04894 Document #: 1-1 Filed: 06/13/24 Page 67 of 103
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 68 of 103 PageID #:83




        COPY OF
     REGISTRATION

                   VA 2-271-514
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 69 of 103 PageID #:84




                                                                              Registration Number

                                                                              VA 2-271-514
                                                                              Effective Date of Registration:
                                                                              September 14, 2021
                                                                              Registration Decision Date:
                                                                              October 18, 2021




Title

                       Title of Work:    Glimpse of a Unicorn


Completion/Publication
                Year of Completion:      2010
           Date of Ist Publication:      March 01, 2010
         Nation of 1* Publication:       United Kingdom

Author

                  °           Author:    Anne Stokes
                      Author Created:    2-D artwork
                           Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:      Anne Stokes
                                         1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                         United Kingdom




Certification

                                         Anna Katharina Reiter
                                         September 14, 2021




                                                                                                          Page | of 1
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 70 of 103 PageID #:85


                       Registration #:   VA0002271514
                   Service Request #:    1-10837407235




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
894 Document #: 1-1 Filed: 06/13/24 Page 71 of




        © Anne   Stokes - www.annestokes/com
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 72 of 103 PageID #:87




     COPY OF
_ REGISTRATION
                   VA 2-272-210
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 73 of 103 PageID #:88




                                                                              Registration Number
                                                                              VA 2-272-210
                                                                              Effective Date of Registration:
                                                                              September 14, 2021
                                                                              Registration Decision Date:
                                                                              October 20, 2021




Title
                       Title of Work:    Skull Embrace


Completion/Publication
               Year of Completion:       2007
            Date of Ist Publication:     March 01, 2007
          Nation of 1* Publication:      United Kingdom

Author

                  e           Author:    Anne Stokes
                      Author Created:    2-D artwork
                           Citizen of:   United Kingdom

Copyright Claimant

                Copyright Claimant:      Anne Stokes
                                         1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                         United Kingdom




Certification

                                         Anna Katharina Reiter
                                         September 14, 2021




                                                                                                            Page | of |
    Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 74 of 103 PageID #:89


                       Registration #:   VA0002272210
                   Service Request #:    1-10837432070




New Alchemy Solutions Ltd.
Anna Katharina Reiter
Room 918, 9/F Nan Fung Centre 264-298 Castle Peak Road
Tsuen Wan
Hongkong, NT 00000
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 75 of 103 PageID #:90




            © Anne Stokes - www.annestokes.com
            Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 76 of 103 PageID #:91

Certificate of Registration




                                                                                                                                        ' AE
                            This Certificate issued under the seal of the Copyright
                 3          Office in accordance with title 17, United States Code,
              gNe               attests that registration has been made for the work
                     Ca
                                identified below. The information on this certificate has   Registration Number
                                been made a part of the Copyright Office records.           VA 2-329-205
 3 28
    ——"4 Z As                      Vio               Vib nur
                                                                                            Effective Date of Registration:
                                                                                            November 23, 2022
                                                                                            Registration Decision Date:
                                United States Register of Copyrights and Director           November 30, 2022




    Title

                                  Title of Work:     — Celtic Dragon 1


        Completion/Publication
                          Year of Completion:          2005
                       Date of Ist Publication:        March 01, 2005
                     Nation of 1 Publication:          United Kingdom

        Author

                            °             Author:      Anne Stokes
                                 Author Created:       2-D artwork
                                       Citizen of:     United Kingdom


        Copyright Claimant

                          Copyright Claimant:          Anne Stokes
                                                       1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                       United Kingdom




        Certification

                                            Name:      Anna Katharina Reiter
                                             Date:     November 23, 2022



                                Correspondence:        Yes




                                                                                                                          Page | of 1
 Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 77 of 103 PageID #:92




Celtic Dragon 1
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 78 of 103 PageID #:93

Certificate of Registration
                           This Certificate issued under the seal of the Copyright
                           Office in accordance with title 17, United States Code,
                           attests that registration has been made for the work
                           identified below. The information on this certificate has   Registration Number
                           been made a part of the Copyright Office records.
                                                                                       VA 2-329-166
                                                                                       Effective Date of Registration:
                                                                                       November 30, 2022
                                                                                       Registration Decision Date:
                           United States Register of Copyrights and Director           November 30, 2022




   Title
                             Title of Work:      Celtic Dragon 2


   Completion/Publication
                     Year of Completion:         2005
                  Date of Ist Publication:       March 01, 2005
                Nation of 1° Publication:        United Kingdom

   Author

                       °             Author:     Anne Stokes
                            Author Created:      2-D artwork
                                  Citizen of:    United Kingdom


   Copyright Claimant

                    Copyright Claimant:          Anne Stokes
                                                 1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                 United Kingdom




   Certification

                                       Name:     Anna Katharina Reiter
                                        Date:    November 30, 2022




                                                                                                                   Page | of 1
   Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 79 of 103 PageID #:94




Celtic Dragon
Celtic Dragon 2
              2
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 80 of 103 PageID #:95

Certificate of Registration
                          This Certificate issued under the seal of the Copyright
                          Office in accordance with title 17, United States Code,
                          attests that registration has been made for the work
                          identified below. The information on this certificate has   Registration Number
                          been made a part of the Copyright Office records.
                                                                                      VA 2-328-699
                                                                                      Effective Date of Registration:
                                                                                      November 23, 2022
                                                                                      Registration Decision Date:
                          United States Register of Copyrights and Director           November 25, 2022




   Title

                            Title of Work:     — Fire Dragon


   Completion/Publication
                    Year of Completion:          2016
                 Date of Ist Publication:        March 01, 2016
               Nation of 1* Publication:         United Kingdom

   Author

                      °             Author:      Anne Stokes
                           Author Created:       2-D artwork
                                 Citizen of:     United Kingdom


   Copyright Claimant

                   Copyright Claimant:           Anne Stokes
                                                 1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                 United Kingdom




   Certification

                                      Name:      Anna Katharina Reiter
                                       Date:     November 23, 2022



                          Correspondence:        Yes




                                                                                                                    Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 81 of 103 PageID #:96
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 82 of 103 PageID #:97

Certificate of Registration
                      This Certificate issued under the seal of the Copyright
                      Office in accordance with title 17, United States Code,
                          attests that registration has been made for the work
                          identified below. The information on this certificate has   Registration Number
                          been made a part of the Copyright Office records.           VA     2-328-705
                                                                                      Effective Date of Registration:
                              hin               (Vib mucin                            November 23, 2022
                                                                                      Registration Decision Date:
                          United States Register of Copyrights and Director           November 25, 2022




   Title
                            Title of Work:      Dragon Beauty


   Completion/Publication
                    Year of Completion:         2011
                 Date of Ist Publication:       March 01, 2011
               Nation of 1° Publication:        United Kingdom

   Author

                      e            Author:      Anne Stokes
                           Author Created:      2-D artwork
                                  Citizen of:   United Kingdom

   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom




   Certification

                                      Name:     Anna Katharina Reiter
                                       Date:    November 23, 2022



                          Correspondence:       Yes




                                                                                                                    Page | of 1
                                                                                                                                                                                                                                                           A
                                                                                                                                                                                                                                                           c
                                                                                                                                                                                                                                                               EEECase: IS
                                                                                                                                                                                                                                                                        1:24-cv-04894
                                                                                                                                                                                                                                                                                Sn




J
\




    |




On
        b
        4




a ete
        in}
        be
        re
        Ce 4
        '

    th}
        et.




        Lay
        we
                                                                                                                                                                                                                                                                                      Document #: 1-1 Filed: 06/13/24 Page 83 of 103 PageID #:98




A           |

            r
                ’




                                                                                                                                        eee
                                                                     :                                                                                                  '           ,    >        -
                                                              ee     ~~                                        tie               ale    .                                                     -
                                                                          “   <=   ey   |   atte   foe   es   ag     pers   ee    aad       “a   BO   9   OT   Pe   REIGATE   TEE   WE   Le   OREO    “   a   st Ts os   ee,   ee   ee   -   ws   os   -
                    <   At   Se   OE   Pe   ORES   EAE   me    OPO
             Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 84 of 103 PageID #:99

Certificate of Registration
                                    This Certificate issued under the seal of the Copyright
                                    Office in accordance with title 17, United States Code,
                                    attests that registration has been made for the work
                                    identified below. The information on this certificate has   Registration Number
                                    been made a part of the Copyright Office records.           VA     2-328-704
                         °
                     %
 Bes :        ao >                         i:                                                   Effective Date of Registration:
     S-1g70°7                           hia              Vib      multr                         November 23, 2022
                                                                                                Registration Decision Date:
                                    United States Register of Copyrights and Director           November 25, 2022




     Title

                                       Title of Work:     Water Dragon


     Completion/Publication
                              Year of Completion:         2006
                           Date of Ist Publication:       March 01, 2006
                         Nation of 1% Publication:        United Kingdom

     Author

                                e             Author:     Anne Stokes
                                     Author Created:      2-D artwork
                                           Citizen of:    United Kingdom


     Copyright Claimant

                             Copyright Claimant:          Anne Stokes
                                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                          United Kingdom




     Certification

                                                Name:     Anna Katharina Reiter
                                                 Date:    November 23, 2022




                                                                                                                              Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 85 of 103 PageID #:100
          Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 86 of 103 PageID #:101

Certificate of Registration
  go STATES,             This Certificate issued under the seal of the Copyright
      =                  Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-328-698

                    A hiia. (Lilie
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                           Title of Work:     — Prayer for the Fallen


   Completion/Publication
                   Year of Completion:          2010
                Date of Ist Publication:        March 01, 2010
               Nation of 1* Publication:        United Kingdom

   Author

                     °             Author:      Anne Stokes
                          Author Created:       2-D artwork
                                Citizen of:     United Kingdom


   Copyright Claimant

                   Copyright Claimant:          Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom




   Certification

                                     Name:      Anna Katharina Reiter
                                      Date:     November 23, 2022



                         Correspondence:        Yes




                                                                                                                   Page | of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 87 of 103 PageID #:102
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 88 of 103 PageID #:103

Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records,
                                                                                     VA 2-328-696

                   AK hiia. (Vilna
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                            Title of Work:     Spellbound


   Completion/Publication
                   Year of Completion:         2009
              Date of Ist Publication:         March 01, 2009
             Nation of 1* Publication:         United Kingdom

   Author

                     °             Author:     Anne Stokes
                          Author Created:      2-D artwork
                                Citizen of:    United Kingdom


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    November 23, 2022



                         Correspondence:       Yes




                                                                                                                   Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 89 of 103 PageID #:104
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 90 of 103 PageID #:105

Certificate of Registration




                                                                                                                                           exe
                                  This Certificate issued under the seal of the Copyright
                 i                Office in accordance with title 17, United States Code,
             \ 3                  attests that registration has been made for the work
                     a            identified below. The information on this certificate has    Registration Number
                     5            been made a part of the Copyright Office records.
                                                                                               VA 2-328-703
            n>                                                                                 Effective Date of Registration:
                            Khia.                     I   Vibnitlen                            November 23, 2022
                                                                                               Registration Decision Date:
                                  United States Register of Copyrights and Director            November 25, 2022




   Title

                                     Title of Work:       Midnight Messenger


   Completion/Publication
                            Year of Completion:           2011
                         Date of Ist Publication:         March 01, 2011
                     Nation of 1% Publication:            United Kingdom

   Author

                              °              Author:      Anne Stokes
                                   Author Created:        2-D artwork
                                          Citizen of:     United Kingdom


   Copyright Claimant

                           Copyright Claimant:            Anne Stokes
                                                          1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                          United Kingdom




   Certification

                                              Name:       Anna Katharina Reiter
                                               Date:      November 23, 2022



                                  Correspondence:         Yes




                                                                                                                             Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 91 of 103 PageID #:106
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 92 of 103 PageID #:107

Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.
                                                                                     VA 2-328-702

            ” Min. Pull
                                                                                     Effective Date of Registration:
                                                                                     November 23, 2022
                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           November 25, 2022




   Title

                            Title of Work:     Copperwing


   Completion/Publication
                  Year of Completion:          2011
               Date of Ist Publication:        March 01, 2011
             Nation of 1*t Publication:        United Kingdom

   Author

                     e             Author:     Anne Stokes
                          Author Created:      2-D artwork
                                Citizen of:    United Kingdom


   Copyright Claimant

                   Copyright Claimant:         Anne Stokes
                                               I Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                               United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    November 23, 2022



                         Correspondence:       Yes




                                                                                                                 Page | of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 93 of 103 PageID #:108
           Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 94 of 103 PageID #:109

Certificate of Registration
   op STATES                           This Certificate issued under the seal of the Copyright
  c¥            Ka)                        arr                 :   .        rot           +
                      oO,              Office in accordance with title 17, United States Code,
               PP                      attests that registration has been made for the work
                                       identified below. The information on this certificate has   Registration Number




                ” Mein Ptlnactoe
                                       been made a part of the Copyright Office records.
                                                                                                   VA 2-328-701
                                                                                                   Effective Date of Registration:
                                                                                                   November 23, 2022
                                                                                                   Registration Decision Date:
                                       United States Register of Copyrights and Director           November 25, 2022




       Title

                                          Title of Work:     Forest Walk



       Completion/Publication
                                 Year of Completion:         2009
                              Date of Ist Publication:       March 01, 2009
                            Nation of 1 Publication:         United Kingdom

       Author

                                   °             Author:     Anne Stokes
                                        Author Created:      2-D artwork
                                               Citizen of:   United Kingdom


       Copyright Claimant

                                Copyright Claimant:          Anne Stokes
                                                             1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                             United Kingdom




       Certification

                                                   Name:     Anna Katharina Reiter
                                                    Date:    November 23, 2022



                                       Correspondence:       Yes




                                                                                                                               Page | of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 95 of 103 PageID #:110
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 96 of 103 PageID #:111

Certificate of Registration
                            This Certificate issued under the seal of the Copyright
                 ‘          Office in accordance with title 17, United States Code,
            A\              attests that registration has been made for the work
                     a      identified below. The information on this certificate has   Registration Number
                     s      been made a part of the Copyright Office records.
                                                                                        VA 2-328-700

            ” htia Padaictlem
                                                                                        Effective Date of Registration
                                                                                        November 23, 2022
                                                                                        Registration Decision Date:
                            United States Register of Copyrights and Director           November 25, 2022




   Title

                               Title of Work:      Realm of Enchantment



   Completion/Publication
                          Year of Completion:      2014
                       Date of Ist Publication :   March 01, 2014
                     Nation of 1 Publication:      United Kingdom

   Author

                                       Author:     Anne Stokes
                              Author Created:      2-D artwork
                                    Citizen of:    United Kingdom


   Copyright Claimant

                         Copyright Claimant:       Anne Stokes
                                                   1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                   United Kingdom




   Certification

                                         Name:     Anna Katharina Reiter
                                          Date:    November 23, 2022



                             Correspondence:       Yes




                                                                                                                    Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 97 of 103 PageID #:112
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 98 of 103 PageID #:113

Certificate of Registration
                     This Certificate issued under the seal of the Copyright
                     Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has    Registration Number
                         been made a part of the Copyright Office records.            VA     2-328-695

                                    fF                                                Effective Date of Registration:

                                                                                      Registration Decision Date:
                         United States Register of Copyrights and Director            November 25, 2022




   Title
                           Title of Work:        Soul Bond



   Completion/Publication
                   Year of Completion:           2017
              Date of Ist Publication:           March 01, 2017
            Nation of 1% Publication:            United Kingdom

   Author

                     °             Author:       Anne Stokes
                          Author Created:        2-D artwork
                                Citizen of:      United Kingdom


   Copyright Claimant

                   Copyright Claimant:           Anne Stokes
                                                 1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                 United Kingdom




   Certification

                                     Name:       Anna Katharina Reiter
                                         Date:   November 23, 2022



                         Correspondence:         Yes




                                                                                                                    Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 99 of 103 PageID #:114
          Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 100 of 103 PageID #:115

Certificate of Registration
                                     This Certificate issued under the seal of the Copyright
                                     Office in accordance with title 17, Untted States Code,
                      \e             attests that registration has been made for the work
                           3         identified below. The information on this certificate has   Registration   Number


 \ Sage
                           a         been made a part of the Copyright Office records.
                                                                                                 VA 2-348-535

                                Khai. (Wbnille
  >    eS            <>                                                                          Effective Date of Registration:
  Pe            a?
      Syrg7o:                                                                                    May 23, 2023
                                                                                                 Registration Decision Date:
                                     United States Register of Copyrights:and Director           May 23,2023




      Title

                                       Title of Work:      Immortal Flight


      Completion/Publication
                               Year of Completion:         2009
                            Date of Ist Publication:       November 01, 2009
                          Nation of 1* Publication:        United Kingdom

      Author

                                 e            Author: | Anne Stokes
                                     Author Created:    2-D artwork
                                           Citizen of:  United Kingdom


      Copyright Claimant

                               Copyright Claimant:         Anne Stokes
                                                           1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                           United Kingdom




      Certification

                                                 Name:     —Anna Katharina Reiter
                                                  Date:    May 23, 2023



                                     Correspondence:       Yes




                                                                                                                               Page 1 of 1
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 101 of 103 PageID #:116
       Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 102 of 103 PageID #:117

Certificate of Registration
                         This Certificate issued under the seal of the Copyright
                         Office in accordance with title 17, United States Code,
                         attests that registration has been made for the work
                         identified below. The information on this certificate has   Registration Number
                         been made a part of the Copyright Office records.           VA     9-348-533
                                                                                     Effective Date of Registration:

                                                                                     Registration Decision Date:
                         United States Register of Copyrights and Director           May 23, 2023




   Title

                           Title of Work:      Lost Soul



   Completion/Publication
                 Year of Completion:           2005
              Date of Ist Publication:         July 01, 2005
             Nation of 1% Publication:         United Kingdom

   Author

                     °            Author:       Anne Stokes
                         Author Created:        2-D artwork
                               Citizen of:    | United Kingdom


   Copyright Claimant

                   Copyright Claimant:        _ Anne Stokes
                                                1 Nunwood House, Apperley Lane, Apperley Bridge, Bradford, BD10 OPB,
                                                United Kingdom




   Certification

                                     Name:     Anna Katharina Reiter
                                      Date:    May 23, 2023



                         Correspondence:       Yes




                                                                                                                   Page 1 of |
Case: 1:24-cv-04894 Document #: 1-1 Filed: 06/13/24 Page 103 of 103 PageID #:118
